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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   LISA R. JACKSON,                           )     Case No. 5:21-cv-00379-FWS-AGR
                                                )
12                         Plaintiff,           )
                                                )     ORDER ACCEPTING FINDINGS AND
13       v.                                     )     RECOMMENDATION OF UNITED
                                                )     STATES MAGISTRATE JUDGE
14   LOUIS DeJOY, et al.,                       )
                                                )
15                         Defendants.          )
                                                )
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              Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended
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     Complaint, records on file, and the Report and Recommendation of the United States
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     Magistrate Judge. No objections to the Report have been filed. The Court accepts
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     the findings and recommendation of the Magistrate Judge.
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              IT IS ORDERED that Defendants’ motion to dismiss the First Amended
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     Complaint is GRANTED IN PART AND DENIED IN PART as follows:
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              (1) Defendants’ motion to dismiss Claim Two is DENIED;
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              (2) Defendants’ motion to dismiss Claims One, Three and Four is GRANTED
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     with leave to amend; and
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              (3) Plaintiff is granted 30 days from the date of entry of this Order to file a
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     Second Amended Complaint consistent with the Magistrate Judge’s Report.
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1          If Plaintiff chooses to file a Second Amended Complaint, it must be filed within
2    30 days after entry of this Order, it must bear the docket number assigned to this
3    case, be labeled “Second Amended Complaint,” and be complete in and of itself
4    without reference to the original complaint, attachment, pleading or other documents.
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8    DATED: April 6, 2023
                                                Hon. Fred W. Slaughter
9                                               UNITED STATES DISTRICT JUDGE
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